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                   IN THE UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF TEXAS
                             DALLAS DIVISION

JOHN ANTHONY CASTRO,                        §
                                            §
             Plaintiff,                     §
                                            §
v.                                          §        Civil Action No. 3:18-CV-0575-K
                                            §
THEODORE “TED” GUDORF and                   §
GUDORF LAW GROUP, LLC,                      §
                                            §
             Defendants.                    §

                                        ORDER

       This is an action filed by Plaintiff against Defendants for alleged defamation

and claim for right to publicity. See generally Plaintiffs’ [sic] Original Complaint (Doc.

No. 1).    In his Complaint, Plaintiff states his “office address” is located in

Washington, DC. Plaintiff does not allege his citizenship. Defendant Gudorf is a

citizen of Dayton, Ohio, and Defendant Gudorf Law Group, LLC’s principal place of

business is located in Dayton, Ohio. The record reveals no connection between this

case and the Northern District of Texas.           Two telephone conversations with

Plaintiff’s counsel revealed only that Plaintiff now allegedly lives in this District;

counsel provided no other connections between this case and the Northern District of

Texas, despite two opportunities to do so. Accordingly, on the Court’s own motion,




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this case is TRANSFERRED to the United States District Court for the Southern

District of Ohio, Western Division. 28 U.S.C.§§ 1404(a), 1406(a).

      SO ORDERED.

      Signed March 20th, 2018.

                                      ______________________________________
                                      ED KINKEADE
                                      UNITED STATES DISTRICT JUDGE




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